Case 1:19-cr-00227-JLS-MJR Document 223

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

 

 

UNITED STATES OF AMERICA,
v. 19-CR-227 (JLS) (MJR)
PETER GERACE, JR.,

Defendants.

 

DECISION AND ORDER

 

Defendant Peter Gerace, Jr. is charged in the Second Superseding Indictment
with, among other things, conspiracy to defraud the United States, conspiracy to
distribute controlled substances, and bribery. See Dkt. 89. Magistrate Judge
Michael J. Roemer was designated to hear and determine, and report and
recommend on, all pre-trial proceedings under 28 U.S.C. §§ 636(b)(1)(A) and (B).
Dkt. 92.

As part of his pre-trial motions, Gerace moved for a hearing pursuant to
Franks v. Delaware, 438 U.S. 154 (1978), relating to the redacted application to
search a cell phone seized from him on February 28, 2021. Dkt. 147, LaTona Aff. 4
57-70. After briefing and oral argument, Judge Roemer denied Gerace’s motion for
an evidentiary hearing pursuant to Franks. See Dkt. 201.

Before this Court are Gerace’s objections to Judge Roemer’s denial of a
Franks hearing. Dkt. 203. The Government responded. Dkt. 207. And Gerace

filed areply. Dkt. 209.
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Gerace again! argues a Franks hearing is warranted because the affiant for
the cell phone search warrant deliberately omitted critical information that was
material to the magistrate judge’s probable cause determination—namely, that the
affidavit did not provide the relevant time periods of the charges Gerace faces, the
dates of his communications with co-conspirators and others, and the periods of his
use of the cell phone. Dkt. 203, at 2; see also Dkt. 147, LaTona Aff. § 66-69; Dkt.
148, at 12. According to Gerace, the omission of such information was an “attempt
to mislead” the magistrate judge into believing the allegations were not stale, and
the affiant exhibited a “deliberate, reckless and/or grossly negligent ‘disregard for
Fourth Amendment rights.” Dkt. 148, at 12-13. In support of that argument,
Gerace provides a staleness chart outlining the relevant dates and time periods. See
Dkt. 203-1.

Judge Roemer’s denial of the motion for a Franks hearing is neither clearly

erroneous nor contrary to law.?

 

1 Gerace also raised these arguments regarding a Franks hearing in his motion for
reconsideration (Dkt. 151) of Judge Roemer’s order denying Gerace’s motion to
unseal the search warrants. Judge Roemer then denied the motion for
reconsideration via text order, see Dkt. 174, Gerace objected to that denial, see Dkt.
179, and this Court issued a Decision and Order affirming Judge Roemer’s
decisions. See generally Dkt. 208.

2 As noted by the Government, Gerace declined to provide a transcript of Judge
Roemer’s denial of the motion for a Franks hearing. To aid in its review of Judge
Roemer’s decision—and, indeed, as it is required to do under the standard of review
and to assess Gerace’s argument that Judge Roemer did not consider properly, or
failed to apply, governing Second Circuit law—the Court has reviewed the relevant
recordings of the oral arguments and Judge Roemer’s decision from September 30,
2021.
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Pursuant to Franks, “where the defendant makes a substantial preliminary
showing that a false statement knowingly and intentionally, or with reckless
disregard for the truth, was included by the affiant in the warrant affidavit,” and
“the allegedly false statement is necessary to the finding of probable cause, the
Fourth Amendment requires that a hearing be held at the defendant's
request.” 438 U.S. at 155-56. Therefore, “[t]o invoke the Franks rule, a defendant
is required to show: (1) ‘that there were intentional and material
misrepresentations or omissions’ in the warrant affidavit, and (2) that the ‘alleged
falsehoods or omissions were necessary to the... probable cause finding.” United
States v. Fernandes, 50 F. Supp. 3d 398, 403 (W.D.N.Y. 2014) (quoting United States
v. Mandell, 752 F.3d 544, 552 (2d Cir. 2014)). Importantly, there is a “presumption
of validity with respect to the affidavit supporting the search warrant.” Jd. (quoting
Franks, 438 U.S. at 171).

As noted in this Court’s earlier Decision and Order (Dkt. 208), a substantial
preliminary showing consists of “specific allegations accompanied by an offer of
proof’—‘“[u]nsupported conclusory allegations of falsehood or material omission
cannot support a Franks challenge.” United States v. Nejad, 436 F. Supp. 3d 707,
719 (S.D.N.Y. 2020) (quoting Velardi v. Walsh, 40 F.8d 569, 573 (2d Cir. 1994)).
Regarding the intentionality prong, the defendant must present “credible and
probative evidence” that a misstatement or omission “in a [warrant] application was
‘designed to mislead’ or was ‘made in reckless disregard of whether [it] would

mislead.” Jd. (quoting United States v. Rajaratnam, 719 F.3d 189, 154 (2d Cir.
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2018) (discussing the requisite Franks showing in the context in a wiretap
application)).

Gerace has not made such a showing. Gerace asks the Court to infer that the
omission of specific dates and other information from the affidavit shows a
“deliberate, reckless, and/or grossly negligent disregard of Fourth Amendment
rights” such that a Franks hearing is required. But this kind of unsupported
inference does not rise to a “substantial” showing required under Franks. Gerace’s
allegations are not “credible and probative evidence” that the omissions were
designed to mislead or made in reckless disregard of whether they would mislead
the magistrate judge. Nejad, 436 F. Supp. 3d at 719 (quoting Rajaratnam, 719 F.3d
at 154) (quotation marks omitted).

As for the materiality prong under Franks, as observed in the earlier Decision
and Order, there is no bright-line rule for staleness. See Dkt. 208, at 15 (citing
United States v. Raymonda, 780 F.3d 105, 114 (2d Cir. 2015)). Rather, when the
supporting facts “present a picture of continuing conduct or an ongoing activity...
the passage of time between the last described act and the presentation of evidence
becomes less significant.” United States v. Singh, 390 F.3d 168, 181 (2d Cir. 2004)
(citation omitted) (in healthcare fraud and controlled substances conspiracy case,
rejecting the argument that the warrant application for business records included
stale information where a period of more than twenty months elapsed between the
informant’s last date of employment and the search warrant application). Further,

courts frequently have found probable cause to search cellphones on the basis that
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narcotics “traffickers commonly use cellphones to communicate in the course of
their narcotics distribution, as well as to store relevant information, including the
names and contact information of suppliers, purchasers, and confederates.” See,
e.g., United States v. Hoey, 15 Cr. 229 (PAE), 2016 WL 270871, at *9 (S.D.N.Y. Jan.
21, 2016) (collecting cases).

On this record, Judge Roemer’s denial of the motion for a Franks hearing was

not clearly erroneous or contrary to law.

CONCLUSION
For the reasons cited by Judge Roemer and set forth above, the Court affirms

Judge Roemer’s decision denying Gerace’s motion for a Franks hearing.

SO ORDERED.

Dated: December 7, 2021
Buffalo, New York

Cnt

a . SINATRA, JR.
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